Case 3:20-cv-01158-DWD Document1 Filed 11/02/20 Pagelof7 Page ID#1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

The Peale s of The

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a Soureen VI ( nla S

 

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

-against-

Burenu of Ladias Affaves @
Chuckaw Natron of Ok phoma

 

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached”’ in the space and attach an additional

page with the full list of names.)

 

 

Complaint for a Civil Case

Case No. 2 O-//S&-2TP
(to be filled in by the Clerk's Office)

Jury Trial: ves O No
(check one)
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The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

 

additional pages if needed.
Name The Nw Yudeh Terbe C Choctaw Band)
Street Address (WAY yath S4.

 

City and County Madison Ma des on! County
State and Zip Code Tent bye at Vil wurs
Telephone Number _G (£ - "Jo G- 2134

E-mail Address 2 peeze—Cratrcte— BecezellB@c mar | -0on
do

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Dugeau ae dian ALD aces
Job or Title
(if known)
Street Address S49 C. Steeey NW.
City and County Was hints Sons D.C.
State and Zip Code 202 40

Telephone Number

E-mail Address
(if known)

 

 

 

Defendant No. 2

 

 

 

 

Name Chact Aw Natron Of 0 K [phoma
Job or Title

(if known)

Street Address [¥02 Chulklken Vina

City and County ) ean & es, Ant Corn ty
II.

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State and Zip Code Teseitbuas of OK ahoma 7470

Telephone Number

E-mail Address
(if known)

 

 

Defendant No. 3

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Defendant No. 4

Name

Job or Title

(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

 

 

 

 

 

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State

as any plaintiff.
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What is the basis for federal court jurisdiction? (check all that apply)

O Federal question uw Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

 

 

 

If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

 

b. If the plaintiff is a-cerperation 1 21 be

The plaintiff, (name) Vhe Ny” Yudah abe , is incorporated
under the laws of the a of (name) _CNectaw Descendants
and has its principal place of business in the State of (name)

“EU iors

‘(if more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

2. The Defendant(s)

 

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Orisa citizen of
(foreign nation)

 
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b. If the defendant is a corporation

The defendant, (name) upeau o T ad ee At Dp is

incorporated under the laws of the State of (name)
Fedeza\ CGroversmen + _, and has its principal place of
business in the State of (name) Wachuaigtos OC. . Oris

incorporated under the laws of (foreign nation)
, and has its principal place of

 

business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

> \Q0, Yo | QoO_ - One (J undecd mM; Lue Deu larsr ial
Damages +b peo) le Lop Benral of yuheetanee, C124 per)

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Ili. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach

additional pages if needed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to

actual or punitive money damages.

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Damages Pop (20 \y 2Ae.< nf fares — CX 4 |S 10a!
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ma Wisa s vf dollars o£ of Ove Fagus he wames Ante
Neritacd ~ We Crit pvt evert Cat Cor 3 cards @ veal with
Pure Blouds. 7
Certification and Closing

 

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Ocbabee 30 , 2020
Signature of Plaintiff Ch. Das 4 L—

Printed Name of Plaintiff — ( hic Baceze Chohtp

B. For Attorneys

Date of signing: ,20_.
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Signature of Attorney
Printed Name of Attorney

 

Bar Number

 

 

Name of Law Firm
Address

 

Telephone Number

 

E-mail Address

 
